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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                            CIVIL ACTION NO. 4:07CR000159-MPM-EMB

WILLIAM GUILLORY (5)


                                              ORDER

       BEFORE THE COURT is Defendant William Guillory’s Motion to Modify Conditions of

Release (dckt. entry #107). Defendant seeks an order eliminating the condition that he be required

to wear an electronic monitoring device as specified in this Court’s Order of October 4, 2007 [dckt.

entry #51]. That Order further required that Defendant’s travel be restricted to the Northern District

of Texas and to the Northern District of Mississippi and that Defendant be placed in the custody of

and reside with his parents. Because Defendant has failed to show any reason why this Court should

modify its previous Order and in an effort to ensure Defendant’s compliance with other conditions

of release, the instant Motion is hereby DENIED.

       SO ORDERED this 6th day of March, 2008.


                                                                    /s/ Eugene M. Bogen
                                                                    U. S. MAGISTRATE JUDGE
